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                                                            over, in violation of Bankruptcy Code Section 542. The
                                                            Trustee also seeks an award of compensatory and punitive
                  2018 WL 3493547
                                                            damages based on a theory of common law conversion.
   Only the Westlaw citation is currently available.
                                                            And the Trustee seeks declaratory relief, injunctive relief,
   United States Bankruptcy Court, E.D. New York.
                                                            and compensatory and punitive damages pursuant to
       IN RE: Estella BRIZINOVA and Edward                  Bankruptcy Code Sections 362(a) and 362(k), based
        Soshkin, aka Eduard Soshkin, Debtors.               on Ms. Soshkin's alleged transfer of estate property in
  Robert L. Geltzer, Chapter 7 Trustee of the Estate        violation of the automatic stay. This is the second time
                                                            that the Trustee has sought to recover the property at
  of Estella Brizinova and Edward Soshkin, Plaintiff,
                                                            issue, although it is the first time that he has sought such
                           v.
                                                            a recovery from Ms. Soshkin.
   Zlata Soshkin, aka Zlata Polukhina, Defendant.
                                                            The Trustee alleges that pursuant to Section 542, Ms.
                   Case No. 12-42935-ess
                                                            Soshkin is required to turn over post-petition sale
                              |
                                                            proceeds in the amount of at least $42,431.66 (the “Post-
                  Adv. Pro. No. 17-01157-ess
                                                            Petition Sale Proceeds”), from ENSI Consulting, Inc.
                              |
                                                            (“ENSI”), an auto supply parts company listed by the
                    Signed July 20, 2018
                                                            Debtors on Schedule B - Personal Property as owned
Attorneys and Law Firms                                     one hundred percent by Debtor Brizinova. The Trustee
                                                            also alleges that Ms. Soshkin willfully and knowingly
Robert A. Wolf, Esq., Tarter Krinsky & Drogin LLP,          converted estate property, namely the estate's one hundred
1350 Broadway (11th floor), New York, NY 10018,             percent interest in ENSI and the Post-Petition Sale
Attorneys for Robert L. Geltzer, as Chapter 7 Trustee of    Proceeds, damaging the estate in the amount of at least
the Estate of Estella Brizinova and Edward Soshkin          $42,431.66, and seeks an award of punitive damages in an
                                                            amount to be determined by this Court. And the Trustee
Karamvir Dahiya, Esq., Dahiya Law Offices, LLC,
                                                            alleges that the estate is entitled to recover damages in
75 Maiden Lane (Suite 506), New York, NY 10038,
                                                            the amount of at least $42,431.66, under Bankruptcy
Attorneys for Estella Brizinova and Edward Soshkin
                                                            Code Sections 362(a)(3) and 362(k), for violations of
                                                            the automatic stay arising from Ms. Soshkin effectuating
                                                            post-petition sales of ENSI auto parts, depositing the
              MEMORANDUM DECISION                           proceeds into her PayPal account, and using certain of the
                                                            Post-Petition Sale Proceeds for her own, her husband's,
               ON MOTION TO DISMISS                         and her brother-in-law Igor Soshkin's purchases.
              ADVERSARY PROCEEDING
                                                            Ms. Soshkin seeks the dismissal of this action pursuant to
HONORABLE ELIZABETH S. STONG, UNITED                        Federal Rule of Civil Procedure 12(b)(6), made applicable
STATES BANKRUPTCY JUDGE                                     here by Federal Rule of Bankruptcy Procedure 7012(b),
                                                            on grounds of “lack of cause of action,” that this Court
                                                            lacks jurisdiction to hear this proceeding, that the statute
                         Introduction
                                                            of limitations has expired, and pursuant to the common
Robert L. Geltzer, the Chapter 7 Trustee of the             law doctrine of laches. Mot. to Dismiss at 19, ECF No. 5.
Estate of Estella Brizinova and Edward Soshkin, aka         Ms. Soshkin also invites the Court to revisit its decision in
Eduard Soshkin (together, the “Debtors”), commenced         Robert L. Geltzer, Chapter 7 Trustee v. Estella Brizinova
this adversary proceeding by filing a complaint (the        and Edward Soshkin (In re Brizinova), 554 B.R. 64 (Bankr.
“Complaint”) against defendant Zlata Soshkin, aka Zlata     E.D.N.Y. 2016), which upheld in part the Trustee's similar
Polukhina. Ms. Soshkin is the Debtors' daughter-in-law,     claims to recover the Post-Petition Sale Proceeds from
and is married to the Debtors' son Nick Soshkin. The        the Debtors, and to “correct its prior ruling in [the] other
Trustee seeks to recover alleged estate property that, he   matter,” with respect to the Post-Petition Sale Proceeds
asserts, the Defendant has improperly refused to turn       and property of the estate. Reply at 9, ECF No. 11.



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                                                            that the business of ENSI was the sale of auto parts
 *2 The questions posed by this motion are whether          through the internet and eBay.
in this action, the Trustee adequately pleads claims for
turnover of property of the estate, conversion of estate    On March 13, 2014, the Trustee commenced an adversary
property, and violations of the automatic stay, as well     proceeding against Nick Soshkin and Igor Soshkin, the
as for actual and punitive damages and injunctive relief.   Debtors' sons, seeking to recover allegedly fraudulent
For the reasons set forth below, Ms. Soshkin's motion to    transfers by the Debtors to their sons of certain interests
dismiss is granted and leave to replead is allowed.         in real and personal property located in Florida. The
                                                            parties resolved the Trustee's claims by entering into a
                                                            stipulation of settlement, which was approved by this
                                                            Court on December 12, 2014.
                         Jurisdiction

This Court has jurisdiction over this proceeding pursuant   On June 23, 2015, the Trustee commenced an
to 28 U.S.C. §§ 1334(b) and 157(b)(1). This is a core       adversary proceeding against the Debtors (the “Brizinova
proceeding pursuant to 28 U.S.C. § 157(b)(2)(E). And        Adversary”), seeking turnover of property of the estate,
as a core matter, this Court has constitutional authority   declaratory and related relief, including compensatory
to enter a final judgment, because the Trustee's claims     and punitive damages for their knowing and willful
stem “from the bankruptcy itself.” Stern v. Marshall, 564   violation of the automatic stay, and compensatory and
U.S. 462, 499, 131 S.Ct. 2594, 180 L.Ed.2d 475 (2011).      punitive damages based on the Debtors' knowing and
For these reasons, this Court has jurisdiction and the      willful conversion of property of the estate. Compl., Adv.
authority to consider and enter judgment on these claims    Pro. No. 15-01073, ECF No. 1. The Debtors moved to
under 28 U.S.C. § 1334(b) and the Standing Order of         dismiss that complaint, and on July 20, 2016, this Court
Reference dated August 28, 1986, as amended by Order        entered an order denying in part and granting in part the
dated December 5, 2012, of the United States District       Debtors' motion to dismiss. There, the Court concluded
Court for the Eastern District of New York.                 that with respect to the Trustee's claims for turnover of
                                                            post-petition sale proceeds pursuant to Section 542(a),
                                                            stay relief pursuant to Section 362(a), and conversion
                                                            of Debtor Brizinova's ownership interest in ENSI, the
                         Background                         Trustee had adequately alleged those claims, and denied
                                                            the motion to dismiss. But with respect to the Trustee's
Selected Procedural History
                                                            claim for conversion of the sale proceeds attributable
The Debtors are husband and wife who filed this joint
                                                            to Debtor Brizinova's ownership interest in ENSI, the
bankruptcy petition on April 24, 2012. The Trustee was
                                                            Court granted the motion to dismiss, and allowed leave
appointed on that date. On Schedule B, the Debtors
                                                            to replead that claim. The Trustee did not replead his
indicate that as of the petition date, Debtor Brizinova
                                                            conversion claim, and that adversary proceeding is still
owned one hundred percent of the stock of ENSI, a New
York corporation. According to Schedule B, the value of     pending. 1
Debtor Brizinova's interest in the ENSI shares as of the
petition date was zero.                                      *3 On November 9, 2017, the Trustee commenced this
                                                            adversary proceeding against Ms. Soshkin. On April
On October 4, 2012, the Court entered an order pursuant     2, 2018, the Court heard argument on the Motion to
to Bankruptcy Rule 2004 directing the Debtors to produce    Dismiss, at which the Trustee and Ms. Soshkin, each by
certain documents “as owners of NC Consulting, Inc.,        counsel, appeared and were heard, and reserved decision.
as well as any other businesses in which they have an
ownership interest,” for a period of six years before the
                                                            The Allegations of the Complaint
petition date, and to appear for an examination by the
                                                            Here, as in the Brizinova Adversary, the Trustee alleges
Trustee. Order Auth. Rule 2004 Exam, at 1, Case No.
                                                            that as of the petition date, Debtor Briznova held a one
12-42935, ECF No. 25. The Trustee alleges that the
                                                            hundred percent ownership interest in ENSI, and that
Debtors each testified at their Rule 2004 examinations,
and Debtor Edward Soshkin testified at his deposition,


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upon the filing of the petition that interest became an asset   seeks an order awarding damages in the amount of at
of the estate.                                                  least $42,431.66, plus interest, and punitive damages in an
                                                                amount to be determined by the Court.
In addition, the Trustee alleges that based on documents
produced by eBay and PayPal during discovery, “and              In his Third Claim for Relief, for violations of the
additional information and documents obtained from              automatic stay pursuant to Section 362(a) and (k), the
the internet,” ENSI continued to sell auto parts post-          Trustee alleges that despite her knowledge of the Debtors'
petition beginning on the petition date of April 24, 2012,      bankruptcy filing, and that the Trustee had become the
and ending no earlier than July 18, 2015. Compl. ¶              owner of their interest in ENSI, Ms. Soshkin made post-
12, ECF No. 1. The Trustee alleges that an eBay user            petition sales of ENSI auto parts on eBay, deposited those
identification account, “buydashtrims,” was “used by            proceeds into her PayPal account, and used certain of the
ENSI pre-petition to effectuate sales of auto parts via         Post-Petition Sale Proceeds for her personal expenses. The
eBay,” and that “ ‘buydashtrims’ ... was and is registered      Trustee seeks a declaratory judgment that Ms. Soshkin
to Zlata Polukhina,” which is Ms. Soshkin's maiden name,        violated the automatic stay, an order enforcing the stay
and that the registration indicates her address as 288          and enjoining Ms. Soshkin from making further transfers
Timber Ridge Drive, Staten Island, NY 10306, where she          of the Post-Petition Sale Proceeds, damages of at least
and Nick Soshkin reside. Compl. ¶ 12.                           $42,431.66, plus interest, and punitive damages.

The Trustee asserts that post-petition, purchasers from
“buydashtrims” made their payments to a PayPal account          This Motion to Dismiss
registered in Ms. Soshkin's name and address. He alleges         *4 On December 14, 2017, Ms. Soshkin filed a motion
that additional records produced by PayPal show that Ms.        to dismiss the Complaint, and a memorandum of law in
Soshkin used some of the funds from that PayPal account         support of the motion (the “Def's Mem.”). She makes
for personal purchases. The Trustee linked the PayPal           several arguments in support of her request that the
account to bank accounts at JPMorgan Chase and TD               Complaint be dismissed.
Bank in the name of Zlata Polukhina.
                                                                Ms. Soshkin seeks to dismiss the Complaint pursuant
The Trustee alleges that “unauthorized” ENSI sales              to Federal Rule of Civil Procedure 12(b)(6), on grounds
during this time generated the Post-Petition Sale Proceeds      that it fails to state a claim, is untimely and barred by
of approximately $42,431.66, which are property of the          laches, and that this Court lacks jurisdiction to hear
Debtors' estate and must be turned over to him. And             it. Ms. Soshkin argues that the Complaint does not
the Trustee alleges that notwithstanding his repeated           satisfy the pleading standards established by the Supreme
demands, Ms. Soshkin has not turned over the Post-              Court in Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
Petition Sale Proceeds.                                         127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) and Ashcroft
                                                                v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d
In his First Claim for Relief, seeking turnover pursuant        868 (2009). She asserts that the Complaint is neither
to Section 542, the Trustee alleges that the Post-              “factually plausible” nor “legally viable,” and that Debtor
Petition Sale Proceeds are estate property in Ms.               Brizinova's ownership interest in ENSI, and thus the
Soshkin's possession, custody and/or control, and that          Trustee's, “does not create property of the estate in the
notwithstanding demand, Ms. Soshkin has failed to turn          assets of ENSI.” Mot. to Dismiss at 6, ECF No. 5. That
over the Post-Petition Sale Proceeds of at least $42,431.66,    is, she argues, the Trustee's ownership interest in ENSI
plus interest. The Trustee seeks an order directing Ms.         is property of the estate, but the assets of ENSI, a non-
Soshkin to turn over to him the Post-Petition Sale              debtor entity, are not.
Proceeds.
                                                                More specifically, as to the First Claim for Relief, seeking
In his Second Claim for Relief, for conversion of estate        turnover, Ms. Soshkin argues that since there is no estate
property, the Trustee alleges that Ms. Soshkin willfully,       property here, the claim for turnover of estate property
knowingly, and wrongly converted property of the estate         fails. She argues that while the Trustee may sell the
in the form of the Post-Petition Sale Proceeds. The Trustee     Debtors' shares in ENSI, he may not sell the corporate



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assets of ENSI, and for these reasons, he is not entitled to    those asserted in the Brizinova Adversary, and that much
turnover of the Post-Petition Sale Proceeds.                    of that complaint survived a motion to dismiss, as set forth
                                                                in the Court's memorandum decision (the “Brizinova
As to the Second Claim for Relief, for conversion, Ms.          Decision”).
Soshkin states that since there was never any estate
property to be the subject of the conversion claim, there       The Trustee also responds that Ms. Soshkin is barred by
can be no conversion. And because the estate does not           the law of the case doctrine from arguing that the Post-
have a possessory right in the assets of ENSI, Ms. Soshkin      Petition Sale Proceeds are not property of the estate. He
could not have exercised dominion over that property or         argues that in the Brizinova Adversary, “Dahiya did not
interfered with it in derogation of the Trustee's rights.       argue in the dismissal motion ... that the [Post-Petition
                                                                Sale Proceeds] were not property of the bankruptcy
Ms. Soshkin also notes that here, the Trustee seeks to          estate,” and that this Court held that the Trustee had
apply the law of the case doctrine to different parties, and    adequately alleged that the Post-Petition Sale Proceeds
a different case, and where there has been no controversy       were property of the estate. Opp. Mem. at 2, ECF No. 8.
determined by the Court, only a ruling on a motion to           That is, he points out that in the Brizinova Adversary, the
dismiss. Ms. Soshkin asserts that the law of the case           defendants did not make that argument even though they
doctrine does not apply beyond the parties to the case in       were represented by the same counsel, and there, the Court
which the ruling was rendered, and that to apply law of         sustained similar claims.
the case here would deprive her of due process. She argues
that the issues addressed in the Brizinova Adversary differ     With respect to his turnover claim under Bankruptcy
from the issue raised here - whether the Post-Petition          Code Section 542, the Trustee responds that the
Sale Proceeds are property of the estate. Ms. Soshkin           Complaint states a claim for turnover against Ms. Soshkin
states that this Court “previously proceeded under the          that is plausible on its face, because the allegations set
impression that the property [was] property of the estate,”     forth the elements of that claim, and are “in most instances
and suggests that this is incorrect, is dicta, and is not       virtually identical” to the allegations of the turnover claim
controlling. Reply at 15. And she argues that in all events,    that was sustained in the Brizinova Adversary. Opp. Mem.
this claim is barred by the three-year statute of limitations   at 9-10.
for conversion, because although the Trustee alleges that
the conversion began in 2012, he did not commence               Addressing the adequacy of his conversion claim, the
this action until 2017, more than three years after he          Trustee responds that here again, the allegations of the
discovered the alleged conversion. She also argues that the     Complaint are “substantially similar to those alleged” in
doctrine of equitable tolling does not apply because the        the Brizinova Adversary, with respect to the conversion
Trustee has not “established” that any fraudulent conduct       of the one hundred percent interest of ENSI. Opp. Mem.
concealed the cause of action during the period that the        at 10. And under both the law of the case doctrine
Trustee seeks to have tolled. Reply at 18.                      and applicable case law, the Trustee contends that he
                                                                adequately pleads this claim.
With respect to the Third Claim for Relief, for stay
violations, Ms. Soshkin states that there was no stay in        With respect to the laches and statute of limitations issues,
place with respect to ENSI, a non-debtor, and so selling        the Trustee asserts, among other things, that he did not
ENSI assets did not violate the automatic stay. And she         discover, and could not have discovered, Ms. Soshkin's
argues that because no acts were taken with respect to          conversion of estate assets until July 25, 2017. For this
property of the estate, the estate has not been damaged.        reason alone, he asserts, Ms. Soshkin should be precluded
                                                                from asserting a laches defense to the conversion claim.
                                                                Alternatively, the Trustee responds that even if the Court
The Trustee's Opposition                                        applies the three-year limitations period to the conversion
 *5 The Trustee opposes the Motion to Dismiss. He               claim, it should encompass “at the very least” Post-
responds that the Post-Petition Sale Proceeds at issue          Petition Sale Proceeds for the three-year period from
here are the same estate assets that are the subject of         November 9, 2014, to November 9, 2017. Opp. Mem. at
the Brizinova Adversary. He further responds that the           12.
Complaint states claims that are substantially similar to


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                                                                T. Currier, Moore's Federal Practice - Civil § 134.21[1]
With respect to the allegations of stay violations, the         (2018). To similar effect, “although a court has the
Trustee responds that here as well, the allegations in the      power to revisit its own decisions ...it should not do so
Complaint are “substantially similar to those contained in      absent extraordinary circumstances showing that the prior
the Trustee's complaint” in the Brizinova Adversary, and        decision was clearly wrong and would work a manifest
the Court has determined that the stay violations claim is      injustice. These principles must be applied with common
adequately pleaded there. Opp. Mem. at 13.                      sense.” Id.

Finally, with respect to the allegations that the Court lacks   A range of circumstances have been cited by courts
jurisdiction to hear the Complaint, the Trustee responds        seeking to determine whether to apply the law of the case
that the Court determined that the substantially similar        doctrine. Two considerations stand out as fundamental:
Brizinova Adversary is a core proceeding, and that for the      whether there is identity of parties between the prior and
same reasons, the Court has constitutional authority to         subsequent matters; and whether the prior decision is a
enter a final judgment here.                                    final one.

                                                                As to the question of identity of the parties, courts
                                                                consistently find that this is necessary for the doctrine
                          Discussion
                                                                to apply. For example, in Hosking v. TPG Cap. Mgmt,
The Law of the Case                                             L.P. (In re Hellas Comm'ns (Luxembourg) II SCA), 555
At the outset, the Court considers the Trustee's argument       B.R. 323 (Bankr. S.D.N.Y. 2016), the bankruptcy court
that, based on the Brizinova Decision, and the law of           recognized that “ ‘where litigants have once battled for
the case doctrine, this Court must conclude that here,          the court's decision, they should neither be required, nor
the Trustee's claims for turnover and conversion of estate      without good reason permitted, to battle for it again.’ ”
property are adequately pleaded, and that the Motion to         In re Hellas Comm'ns, 555 B.R. at 342 (quoting Zdanok v.
Dismiss must be denied.                                         Glidden Co., Durkee Famous Foods Div., 327 F.2d 944, 953
                                                                (2d Cir. 1964) ). And as one court has explained:
 *6 As the Supreme Court has explained, the law of
                                                                            The “law of the case” doctrine is that
the case doctrine “generally provides that ‘when a court
                                                                            a decision at one stage of a litigation
decides upon a rule of law, that decision should continue
                                                                            can in the Court's discretion be
to govern the same issues in subsequent stages in the same
                                                                            determined to be binding precedent
case.’ ” Musacchio v. U.S., ––– U.S. ––––, 136 S.Ct. 709,
                                                                            in following stages of the same
716, 193 L.Ed.2d 639 (2016) (quoting Pepper v. United
                                                                            litigation or to different lawsuits
States, 562 U.S. 476, 506, 131 S.Ct. 1229, 179 L.Ed.2d
                                                                            between the parties. See In re PCH
196 (2011) ). As the Court also observed, “[t]he doctrine
                                                                            Associates, 949 F.2d 585, 592 (2d
‘expresses the practice of courts generally to refuse to
                                                                            Cir. 1991). However, the law of the
reopen what has been decided,’ but it does not ‘limit
                                                                            case doctrine is inapplicable to the
[courts'] power.’ ” Musacchio, 136 S.Ct. at 716 (quoting
                                                                            instant action. This is not the same
Messenger v. Anderson, 225 U.S. 436, 444, 32 S.Ct. 739, 56
                                                                            litigation or a different litigation
L.Ed. 1152 (1912) ).
                                                                            between the same parties.

The law of the case doctrine is discretionary in nature,        Ackerman v. Schultz (In re Schultz), 250 B.R. 22, 29
and pragmatic in application. It “is a judicial doctrine        (Bankr. E.D.N.Y. 2000).
that promotes finality and efficiency in the judicial process
by encouraging courts to follow their own decisions             As to the question of entry of a final order, the Supreme
within any given case.” In re Pilgrim's Pride Corp., 442        Court long ago noted that “[w]e think that [the law of
B.R. 522, 529 (Bankr. N.D. Tex. 2010). And as one               the case doctrine] requires a final judgment to sustain the
authority explains, “the law of the case doctrine expresses     application of the rule ... just as it does for the kindred
the general rule that courts will not reopen issues that        rule of res judicata.” United States v. U.S. Smelting Co.,
have already been decided.” 18 J. Moore, J. Lucas &             339 U.S. 186, 198-99, 70 S.Ct. 537, 94 L.Ed. 750 (1950)


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). For these reasons, courts have declined to apply the         the case.” Datiz, 2017 WL 59085, at *2, 2017 U.S. Dist.
doctrine when the prior order denied a motion to dismiss        LEXIS 2477, at *5. That is, in the Brizinova Adversary,
and “refus[ed] to grant summary judgment.” GAF Corp.            the Court's decision was not a final order ending the case,
v. Circle Floor Co., 329 F.Supp. 823, 826-27 (S.D.N.Y.          and that decision “allowed the case to continue to trial.”
1971). As one court explained, “the deni[al of a] motion to
dismiss ... by definition is not a final order. The decision    For these reasons, neither the Brizinova Decision, nor the
allowed the case to continue to trial - it was not a final      law of the case doctrine, requires this Court to conclude
order ending the case.” Datiz v. Int'l Recovery Assocs.,        that the Motion to Dismiss must be denied.
2017 WL 59085, at *2, 2017 U.S. Dist. LEXIS 2477, at *5
(E.D.N.Y. Jan. 4, 2017).
                                                                Pleading Requirements Under Federal Rule of Civil
 *7 In a bankruptcy setting, the law of the case doctrine       Procedure 8(a)
may apply to different adversary proceedings brought            As this Court has noted, Federal Rule of Civil Procedure
in the same bankruptcy case, provided that all of the           8(a) requires that a pleading contain “ ‘a short and plain
requirements of the doctrine - including identity of the        statement of the claim showing that the pleader is entitled
parties - are met. See Bourdeau Bros., Inc. v. Montagne         to relief.’ ” In re Brizinova, 554 B.R. at 74 (quoting Fed.
(In re Montagne), 2010 WL 271347, at *6 (Bankr. D.              R. Civ. P. 8(a)(2) ). In Bell Atlantic Corp. v. Twombly,
Vt. Jan. 22, 2010) (stating that “ ‘[a]dversary proceedings     550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007), the
in bankruptcy are not distinct pieces of litigation; they       Supreme Court stated that under this rule, “a plaintiff's
are components of a single bankruptcy case.’ ”) (quoting        obligation to provide the ‘grounds’ of his ‘entitle[ment] to
Cohen v. Bucci, 905 F.2d 1111, 1112 (7th Cir. 1990) );          relief’ requires more than labels and conclusions, and a
Artra Grp., Inc. v. Salomon Bros. Holding Co., 1996 WL          formulaic recitation of the elements of a cause of action
637595 at *5 (N.D. Ill. Oct. 31, 1996) (holding that law of     will not do.” Twombly, 550 U.S. at 555, 127 S.Ct. 1955
the case doctrine encompasses litigation in both main case      (citation omitted).
and adversary proceeding). See also In re Terrestar Corp.,
2017 WL 1040448, at *4 (S.D.N.Y. Mar. 16, 2017) (same);         Thereafter, in Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.
Moise v. Ocwen Loan Serv. LLC (In re Moise), 575 B.R.           1937, 173 L.Ed.2d 868 (2009), the Supreme Court set forth
191, 205 (Bankr. E.D.N.Y. 2017) (same).                         a two-step approach for courts to follow when deciding
                                                                a motion to dismiss. First, a court should “identify[ ]
Here, it is plain from these considerations that the            pleadings that, because they are no more than conclusions,
Brizinova Decision does not supply the law of the case          are not entitled to the assumption of truth.” Iqbal, 556
for this adversary proceeding. First, identity of parties is    U.S. at 679, 129 S.Ct. 1937. “While legal conclusions
lacking, because the parties to the Brizinova Adversary         can provide the framework of a complaint, they must be
are the Trustee and the Debtors, Estella Brizinova and          supported by factual allegations.” Id. Thus, “[t]hreadbare
Edward Soshkin, but the parties to this Adversary               recitals of the elements of a cause of action, supported
Proceeding are the Trustee and Ms. Soshkin. Applying            by mere conclusory statements, do not suffice.” Iqbal, 556
the doctrine to this proceeding would deprive Ms. Soshkin       U.S. at 678, 129 S.Ct. 1937 (citing Twombly, 550 U.S. at
of the most fundamental component of due process, the           555, 127 S.Ct. 1955).
opportunity to be heard, because she was not a party to
the Brizinova Adversary. And the right to an opportunity         *8 Second, “[w]hen there are well-pleaded factual
to be heard is hers, not her counsel's.                         allegations, a court should assume their veracity and
                                                                then determine whether they plausibly give rise to an
And second, there is no final judgment, because the             entitlement to relief.” Iqbal, 556 U.S. at 679, 129 S.Ct.
Brizinova Decision determined the Debtors' motion to            1937. A claim is plausible “when the plaintiff pleads
dismiss by granting leave to replead with respect to one        factual content that allows the court to draw the
claim, and denying it in all other respects. As previously      reasonable inference that the defendant is liable for the
noted, “the deni[al of a] motion to dismiss ... by definition   misconduct alleged.” Iqbal, 556 U.S. at 678, 129 S.Ct. 1937
is not a final order” because “[t]he decision allowed the       (citing Twombly, 550 U.S. at 556, 127 S.Ct. 1955). “Where
case to continue to trial - it was not a final order ending     a complaint pleads facts that are ‘merely consistent with’
                                                                a defendant's liability, it ‘stops short of the line between


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possibility and plausibility of ‘entitlement to relief.’ ” Id.   estate, except such as are earnings from services performed
(quoting Twombly, 550 U.S. at 557, 127 S.Ct. 1955).              by an individual debtor.” 11 U.S.C. § 541(a)(6).

                                                                 The definition of property of the estate is interpreted
Pleading Requirements Under Federal Rule of Civil                broadly, and “every conceivable interest of the debtor,
Procedure 12(b)(6)                                               future, nonpossessory, contingent, speculative, and
Federal Rule of Civil Procedure 12(b)(6) permits a party         derivative, is within the reach of [Section] 541.”
to seek dismissal of a claim at the pleading stage if it does    Chartschlaa v. Nationwide Mut. Ins. Co., 538 F.3d 116,
not state a claim upon which relief may be granted. In           122 (2d Cir. 2008) (citation omitted). And “[t]he broad
Twombly, the Supreme Court held that for a complaint             definition of property of the estate clearly encompasses
to survive a motion to dismiss under Rule 12(b)(6), the          a debtor's interest in another corporation's stock.” In re
plaintiff must allege “enough facts to state a claim to          Arcapita Bank B.S.C.(c), 2014 WL 2109931, at *2 (Bankr.
relief that is plausible on its face.” Twombly, 550 U.S. at      S.D.N.Y. May 20, 2014). But the Bankruptcy Code does
570, 127 S.Ct. 1955. The Court explained that “[f]actual         not define “proceeds,” few courts have addressed the
allegations must be enough to raise a right to relief above      question in reported decisions, and some of those that
the speculative level.” Twombly, 550 U.S. at 555, 127 S.Ct.      have, define “proceeds” simply by using the term itself.
1955 (citation omitted).
                                                                  *9 “Proceeds” of estate property are also property of the
When considering a motion to dismiss under Rule 12(b)            estate. As the Collier treatise notes, “if the estate sells ...
(6), the court should “ ‘accept[ ] all factual allegations as    inventory or other property, the revenue will become
true, and draw[ ] all reasonable inferences in the plaintiff's   property of the estate as ‘proceeds, product, offspring,
favor.’ ” DiFolco v. MSNBC Cable, L.L.C., 622 F.3d 104,          rent, or profits of or from property of the estate,’ as
110-11 (2d Cir. 2010) (quoting Shomo v. City of New York,        provided under section 541(a)(6).” 5 Collier on Bankruptcy
579 F.3d 176, 183 (2d Cir. 2009) ); Mills v. Polar Molecular     ¶ 541.02 (Alan N. Resnick & Henry J. Sommer eds.,
Corp., 12 F.3d 1170, 1174 (2d Cir. 1993). But a court is not     16th ed. 2018). That is, “revenue” from the sale of estate
required to accept as true those allegations that amount         property is also estate property. This makes sense, because
to no more than legal conclusions. Iqbal, 556 U.S. at 678,       the change in an asset's form from one type, such as real
129 S.Ct. 1937; Twombly, 550 U.S. at 555, 127 S.Ct. 1955.        estate or shares of a corporation, to another, such as cash,
                                                                 should not lead to a change in whether it is a part of a
In deciding a Rule 12(b)(6) motion, a court may look             debtor's bankruptcy estate.
to the facts alleged in the complaint, and also to those
“[d]ocuments that are attached to the complaint or               To this effect, courts have found proceeds to include “
incorporated in it by reference.” Roth v. Jennings, 489 F.3d     ‘whatever is received upon the sale, exchange, collection,
499, 509 (2d Cir. 2007). See Gillingham v. Geico Direct,         or other disposition of collateral or proceeds,’ ” including
2008 WL 189671, at *2 (E.D.N.Y. Jan. 18, 2008) (stating          a right to payment under a contract entered into before
that when considering a motion to dismiss for failure to         the bankruptcy case was filed. In re Saxton, 1988 WL
state a claim under Rule 12(b)(6), a court may look to the       1571475, at *2 (Bankr. D. Iowa 1988) (quoting Iowa Code
complaint, its exhibits, and documents incorporated by           § 554.9306(a) ). There, the bankruptcy court concluded
reference in the complaint).                                     that payments owed under a contract entered into pre-
                                                                 petition were proceeds because they were received as part
                                                                 of the contract. In re Saxton, 1988 WL 1571475, at *2.
Property of the Estate and Proceeds Under the
Bankruptcy Code
                                                                 Other courts have found proceeds to include:
Bankruptcy Code Section 541(a) provides that the
bankruptcy estate consists of “[a]ll legal or equitable            • residual commissions earned pre-petition but paid
interests of the debtor in property as of the                        post-petition, see In re Bosack, 454 B.R. 625 (Bankr.
commencement of the case.” 11 U.S.C. § 541(a).                       W.D. Pa. 2011);
Bankruptcy Code Section 541(a)(6) further states that
property of the estate includes the “[p]roceeds, product,          • proceeds from the post-petition sale of the debtor's
offspring, rents, or profits of or from property of the              real property, see In re Steel Wheels Transp., LLC,


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     2011 Bankr. LEXIS 4582, 2011 WL 5900958 (Bankr.            The first element that the Trustee must allege to state a
     D.N.J. Oct. 28, 2011);                                     Section 542(a) claim is that the property at issue is in the
                                                                possession, custody, or control of another entity.
  • stock options not exercisable until post-petition, see In
     re Michener, 342 B.R. 428, 429 (Bankr. D. Del. 2006),      Ms. Soshkin argues, in substance, that the Trustee does
     and In re Taronji, 174 B.R. 964, 967 (Bankr. N.D. Ill.     not - and cannot - adequately allege this element of
     1994); and                                                 his turnover claim because the property at issue is not
                                                                property of the estate. She does not dispute the Trustee's
  • life insurance policy proceeds where the insured dies
                                                                allegations that the bankruptcy estate owns a one hundred
     after the bankruptcy case is filed, see In re No. 1
                                                                percent interest in the ENSI shares, and notes that the
     Con–Struct Corp., 88 B.R. 452, 453 (Bankr. S.D. Fla.
                                                                Trustee may sell the shares of ENSI. But she argues that he
     1988).
                                                                may not “reach the assets of a non-debtor corporation.”
                                                                Mot. to Dismiss at 13. And she argues, in substance, that
Whether the Trustee States a Claim for Turnover Under           the Post-Petition Sale Proceeds are proceeds from the sale
Bankruptcy Code Section 542(a)                                  of ENSI assets, rather than proceeds of the ENSI shares.
The Trustee's First Claim for Relief is for turnover of         And for that reason, she argues, the Post-Petition Sale
property under Bankruptcy Code Section 542(a). By this          Proceeds are not property of the estate.
claim, the Trustee seeks to recover the Post-Petition Sale
Proceeds from Ms. Soshkin. Section 542(a) provides:              *10 The Trustee responds, among other things, that
                                                                the Post-Petition Sale Proceeds are in Ms. Soshkin's
             an entity, other than a custodian,                 possession, custody, or control, and supports this
             in possession, custody, or control,                assertion with allegations that set forth his efforts to trace
             during the case, of property that                  the path of the Post-Petition Sale Proceeds from internet
             the trustee may use, sell, or lease                transactions undertaken on the “buydashtrims” website,
             under section 363 of this title, or                to eBay, PayPal, and bank accounts in Ms. Soshkin's
             that the debtor may exempt under                   name.
             section 522 of this title, shall deliver
             to the trustee, and account for,                   The Trustee also notes that the allegations that comprise
             such property or the value of such                 his turnover claim here are “substantially similar, and in
             property, unless such property is of               most instances virtually identical,” to the allegations in his
             inconsequential value or benefit to                turnover claim in the Brizinova Adversary. Opp. Mem.
             the estate.                                        at 10. According to the Trustee, because the Court held
                                                                in its Brizinova Decision that these allegations adequately
11 U.S.C. § 542(a).                                             set forth each of the required elements of a turnover
                                                                claim, under the law of the case doctrine, those same
The Trustee must allege three elements to state a claim         allegations should be sufficient here to withstand Ms.
under Section 542(a). These are: “ ‘(1) the property is in      Soshkin's motion to dismiss.
the possession, custody or control of another entity; (2)
the property can be used in accordance with the provisions      To allege adequately this element of a turnover claim,
of section 363; and (3) the property has more than              the Complaint must state that the property at issue is
inconsequential value to the debtor's estate.’ ” Kramer v.      in the possession, custody, or control of an entity other
Mahia (In re Khan), 2014 WL 4956676, at *22 (Bankr.             than the Debtors. Here, the Trustee alleges that the eBay
E.D.N.Y. Sept. 30, 2014) (quoting Zazzali v. Minert (In         user account “buydashtrims” was linked to ENSI and is
re DBSI, Inc.), 468 B.R. 663, 669 (Bankr. D. Del. 2011) ).      registered to Ms. Soshkin, and that “sale proceeds derived
The Court considers each of these elements in turn.             from ENSI's ... post-Petition Date sales ... were deposited
                                                                [to a] PayPal account registered to [Ms. Soshkin].” Compl.
                                                                ¶ 12.
Whether the Trustee Adequately Alleges that the
Property Is in the Possession, Custody, or Control of
Ms. Soshkin


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For these reasons, and based on the entire record, the           *11 As noted above, Bankruptcy Code Section 541
Court concludes that the Trustee adequately alleges the         provides the framework to determine whether property
first element of a claim under Bankruptcy Code Section          is “property of the estate.” With these concepts in mind,
542 for turnover of the Post-Petition Sale Proceeds, that       whether the second element of the Trustee's claim is
the property at issue is in the possession, custody, or         adequately alleged turns on whether proceeds from the
control of another entity, here, Ms. Soshkin.                   sale of ENSI assets - the Post-Petition Sale Proceeds - are
                                                                “proceeds” of property of the estate as contemplated by
                                                                Section 541(a)(6).
Whether the Trustee Adequately Alleges that the
Property at Issue Is Property that He May Use, Sell, or         It is beyond doubt that where a debtor owns the shares
Lease                                                           of a corporation, a sale of those shares for cash or other
The second element that the Trustee must allege to              consideration results in “proceeds.” In such a transaction,
state a Section 542(a) claim is that the property at            all that has occurred is that property of the estate has
issue is property that the Trustee may use, sell, or lease      changed from one form - shares of stock - to another
under Bankruptcy Code Section 363. Such property is             form - cash or other consideration. But the parties have
defined broadly by Section 541 and includes “all legal          not cited, and the Court has not found, controlling or
or equitable interests of the debtor in property as of          persuasive authority to support the Trustee's assertion
the commencement of the case” as well as “[p]roceeds,           that in these circumstances, the proceeds of a sale of a non-
product, offspring, rents, or profits of or from property of    debtor corporation's assets should be afforded the same
the estate.” 11 U.S.C. § 541(a)(1), (a)(6). And as this Court   treatment as the proceeds of a sale of its shares.
has found, this element is adequately pleaded where the
plaintiff seeks the turnover of property of the estate that     This is consistent with principles that are long and well
can be put to use in connection with the administration of      established. Courts in New York recognize that there is
the estate, including paying the claims of creditors and the    a difference between ownership of a corporation's shares
costs of administration of the estate. In re Brizinova, 554     and ownership of its assets. Long ago, the New York
B.R. at 77.                                                     Court of Appeals observed:

Ms. Soshkin argues that the Trustee's turnover claim is not                 [T]he corporation in respect of
viable because in defining the scope of the Debtors' estate,                corporate property and rights
the Trustee “blurs the boundaries of estate and make[s] it                  is entirely distinct from the
all encompassing,” resulting in an improper construction                    stockholders who are the ultimate
of the term “estate.” Mot. to Dismiss at 5-6. She argues, in                or equitable owners of its assets ...
substance, that the Post-Petition Sale Proceeds belong to                   even complete ownership of capital
ENSI, which is not in bankruptcy, not to the Debtors, and                   stock does not operate to transfer
that they are simply not property of the estate. For these                  the title to corporate property and ...
reasons, she concludes, the Trustee does not adequately                     ownership of capital stock is by no
allege this element of his turnover claim.                                  means identical with or equivalent to
                                                                            ownership of corporate property.
The Trustee responds that the Post-Petition Sale Proceeds
are property of the Debtors' estate as provided for in          Brock v. Poor, 216 N.Y. 387, 401, 111 N.E. 229 (1915).
Bankruptcy Code Section 541. He argues that they are
“proceeds and profits from the same entity, ENSI, as            To similar effect, the Second Circuit found that under
to which the Debtors' estate holds the 100% ownership           New York law, “shareholders do not hold legal title to any
interest,” and constitute property of the estate as set forth   of the corporation's assets. Instead, the corporation - the
in Bankruptcy Code Section 541(a)(6). Opp. Mem. at 7.           entity itself - is vested with the title.” U.S. v. Wallach, 935
And here too, he argues that the Complaint adequately           F.2d 445, 462 (2d Cir. 1991) (citing 5A Fletcher Cyclopedia
states a turnover claim because it is substantially the same    of the Law of Private Corps. § 2213, at 323 (Perm. ed.
claim that he asserted in the Brizinova Adversary, and it       1990) ).
survived a motion to dismiss there.
                                                                And as Chief Judge Craig noted:


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                                                                he values them in an amount of at least $42,431.66, plus
             A corporation has a separate                       interest.
             identity from its owners and,
             therefore, assets held by corporate                There is no single test to determine whether property is of
             entities are not property of an                    greater than inconsequential value to a debtor's Chapter
             individual shareholder's bankruptcy                7 estate. One method noted by courts is to compare the
             estate. Rather, the ownership                      amount of claims filed in a debtor's bankruptcy case to
             interest is property of the                        the value of the property that the trustee seeks to recover.
             shareholder's bankruptcy estate.                   Calvin v. Wells Fargo Bank, N.A. (In re Calvin), 329
                                                                B.R. 589, 598 (Bankr. S.D. Tex. 2005) (concluding that
Pereira v. Dieffenbacher (In re Dieffenbacher), 556 B.R.
                                                                where the value of the property sought to be turned over
79, 85 (Bankr. E.D.N.Y. 2016) (quotation and internal
                                                                represented seven percent of all claims, that was “not
citation omitted).
                                                                an insignificant portion” and the property was not of
                                                                inconsequential value to the estate). Another is to show
Applying these principles here, Debtor Brizinova's
                                                                that “some method of sale holds a reasonable prospect of
ownership of ENSI's shares does not give her legal title to,
                                                                a meaningful recovery in excess of” the debtor's exemption
or an ownership interest in, ENSI's assets, because ENSI
                                                                in the asset. In re Burgio, 441 B.R. 218, 221 (Bankr.
has legal title to, and owns, those assets. And if she does
                                                                W.D.N.Y. 2010).
not have a “legal or equitable interest[ ]” in ENSI's assets,
then they are not property of her estate under Bankruptcy
                                                                Here, a review of the Complaint shows that the Trustee
Code Section 541(a), and the Trustee is not entitled to their
                                                                alleges, among other things, that the Post-Petition Sale
turnover under Bankruptcy Code Sections 542 and 541(a)
                                                                Proceeds are estimated to be at least $42,431.66. And
(6).
                                                                the claims register shows that some $92,000 in unsecured
                                                                claims have been filed. That is, the Post-Petition Sale
For these reasons, and based on the entire record, the
                                                                Proceeds that the Trustee seeks to recover have an
Court concludes that the Trustee does not adequately
                                                                alleged value that would be sufficient to pay a meaningful
allege the second element of a claim under Bankruptcy
                                                                dividend to unsecured creditors. This is sufficient to allege
Code Section 542 for turnover of the Post-Petition Sale
                                                                that the property at issue would be of greater than
Proceeds, that the property at issue is property that the
Trustee may use under Bankruptcy Code Section 363 as            inconsequential value to the estate. 2
“proceeds of or from property of the estate.”
                                                                For these reasons, and based on the entire record, the
                                                                Court concludes that the Trustee adequately alleges the
Whether the Trustee Adequately Alleges that the                 third element of a claim under Bankruptcy Code Section
Property at Issue Is of More than Inconsequential Value         542 for turnover of the Post-Petition Sale Proceeds, that
to the Estate                                                   the property at issue - if it were property of the estate - has
 *12 The third element that the Trustee must allege to          more than inconsequential value to the debtor's estate.
state a Section 542(a) claim is that the property at issue
is of greater than inconsequential value to the bankruptcy
estate.                                                         Whether Laches Bars the Trustee's Section 542(a) Claim
                                                                Ms. Soshkin argues that even if the Trustee has asserted
Ms. Soshkin argues, in substance, that the Post-Petition        a colorable claim under Section 542, this claim should
Sale Proceeds are of inconsequential value to this              be dismissed because the Trustee brought this action
bankruptcy estate because they are not property of the          more than five years after the Debtors commenced their
estate, and that “no assets of ENSI have been removed.”         bankruptcy case. Ms. Soshkin acknowledges that there
Mot. to Dismiss at 10.                                          is no statute of limitations for turnover actions, but that
                                                                “does not mean the Court is powerless” to require that a
The Trustee responds, in substance, that the Post-Petition      turnover action be commenced within a reasonable time.
Sale Proceeds are of consequence to the estate because          Reply at 19. And she notes that because turnover is an
                                                                equitable remedy, it is “subject to laches.” Id.



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                                                                 not established that the Trustee delayed in asserting this
 *13 The Trustee responds that his claim is timely because       claim “despite the opportunity to do so.” Id. Nor has
it could not have been discovered until recently, and            Ms. Soshkin shown, at this juncture, that she did not
alternatively, that he states a claim for at least the           know that this claim would be asserted, or that she has
three-year period before he commenced this adversary             been prejudiced by the delay. The question of laches may
proceeding.                                                      be raised and adjudged at some future point in these
                                                                 proceedings.
Courts have found that Bankruptcy Code Section 542
addresses equitable relief and as such, is not subject to        For these reasons, and based on the entire record, the
an explicit statute of limitations. See Ball v. Soundview        Court concludes that Ms. Soshkin has not established at
Composite Ltd. (In re Soundview Elite Ltd.), 2014 WL             this stage in these proceedings that the Trustee's turnover
2998529, at *3, 2014 U.S. Dist. LEXIS 91267, at *18              claim is barred by laches.
(S.D.N.Y. 2014) (stating that “turnover proceedings are
inherently equitable in nature.”). See Krohn v. Burton (In
re Swift), 496 B.R. 89, 99 (Bankr. E.D.N.Y. 2014) (stating
                                                                                            ***
that “[w]hile a turnover action is not subject to a statute of
limitations,” such an action must “be commenced within           In sum, the Court has carefully considered each of
a reasonable time.”).                                            the arguments advanced by Ms. Soshkin with respect
                                                                 to whether the Trustee adequately alleges the First
But turnover actions under Section 542 are “subject to           Claim for Relief, for turnover of the Post-Petition Sale
equitable defenses, such as laches, equitable estoppel,          Proceeds under Bankruptcy Code Section 542(a). The
waiver, and acquiescence.” In re Swift, 496 B.R. at 99.          Court concludes that the Trustee adequately alleges the
Accordingly, a plaintiff in a Section 542 action must assert     first element of this claim, that the property is in the
the claim within “a reasonable period of time.” De Berry         possession, custody, or control of Ms. Soshkin. And the
v. Schmukler (In re De Berry), 59 B.R. 891, 898 (Bankr.          Trustee adequately alleges the third element of his claim,
E.D.N.Y. 1986). What is reasonable depends on the facts          that the Post-Petition Sale Proceeds have value to the
and circumstances of each case, and at least one court has       estate.
held that a trustee should be barred from bringing a claim
under Section 542 after a delay of more than four years. Id.      *14 But the Trustee does not adequately allege the
                                                                 second element of his turnover claim, that the Post-
Laches is an affirmative defense, and it is Ms. Soshkin's        Petition Sale Proceeds are property of the estate that
burden to show that laches should serve as a bar to the          the Trustee may use, because he does not adequately
Trustee's turnover claim. When considering a defense of          allege that the Post-Petition Sale Proceeds are property
laches, courts may consider factors including “(1) proof         of the estate, and the Trustee is entitled to use only
of delay in asserting a claim despite the opportunity to         such property. And separately, Ms. Soshkin has not
do so (2) lack of knowledge on the part of the defendants        established, at this stage in these proceedings, that the
that a claim would be asserted, and (3) prejudice to the         Trustee's claim is barred by laches.
defendants by the allowance of the claim.” In re Cutillo,
181 B.R. 13, 15 (Bankr. N.D.N.Y. 1995). To similar effect,       For these reasons, and based on the entire record, the
courts agree that the “mere passage of time is insufficient      Defendant's Motion to Dismiss the Trustee's First Claim
to constitute laches.” Id.                                       for Relief, for turnover of the Post-Petition Sale Proceeds,
                                                                 is granted.
Here, the record shows that the Debtors commenced their
Chapter 7 bankruptcy case on April 24, 2012, and the
Trustee filed this Complaint on November 9, 2017, more           Whether the Trustee States a Claim for Conversion
than five years later. While Ms. Soshkin has shown that          The Trustee's Second Claim for Relief is for conversion
a considerable period of time passed from the Debtors'           of estate property under New York common law. By this
commencement of their bankruptcy case to the filing of           claim, the Trustee seeks to recover the Post-Petition Sale
this action, at this stage in these proceedings, she has         Proceeds from Ms. Soshkin.



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                                                                  Under New York law, “[i]t is well-settled ... that an
The Trustee must allege two elements to state a conversion        action for the conversion of monies is ‘insufficient as a
claim under New York law. These are: “first ... legal             matter of law unless it is alleged that the money converted
ownership or an immediate superior right of possession            was in specific tangible funds of which claimant was the
to a specific identifiable thing (i.e., specific money);          owner and entitled to immediate possession.’ ” Buena
and, second ... that the defendant exercised unauthorized         Vista Home Ent., Inc. v. Wachovia Bank, N.A. (In re
dominion over the thing in question, to the exclusion of          Musicland Holding Corp.), 386 B.R. 428, 440 (S.D.N.Y.
the plaintiff's rights.” AMF Inc. v. Algo Distribs., Ltd., 48     2008) (quoting Ehrlich v. Howe, 848 F.Supp. 482, 492
A.D.2d 352, 356-57, 369 N.Y.S.2d 460 (N.Y. App. Div. 2d           (S.D.N.Y. 1994) ), aff'd, 318 F. App'x 36 (2d Cir. 2009).
Dep't 1975) (citation omitted).                                   As one court explained, “the money must be ‘described
                                                                  or identified in the same manner as a specific chattel.’
                                                                  ” Global View Ltd. Venture Capital v. Great Cent. Basin
Whether the Trustee Adequately Alleges that the Estate            Expl., L.L.C., 288 F.Supp.2d 473, 480 (S.D.N.Y. 2003)
Had Title to a Specific Identifiable Thing or a Right to          (quoting 9310 Third Ave. Assocs., Inc. v. Schaeffer Food,
Its Possession                                                    210 A.D.2d 207, 208, 620 N.Y.S.2d 255 (N.Y. App. Div.
The first element that the Trustee must allege to state a         2nd Dep't 1994) ). Dismissal may be appropriate where the
conversion claim is that the estate had legal ownership of,       funds at issue were not “a specific, identifiable fund and
or a right to possess, a specific identifiable thing, here, the   an obligation to return or otherwise treat in a particular
Post-Petition Sale Proceeds. This element has two parts:          manner the specific fund in question.” Mfrs. Hanover Tr.
a plaintiff must allege (1) title or a right to possess (2) a     Co. v. Chem. Bank, 160 A.D.2d 113, 124, 559 N.Y.S.2d
specifically identifiable thing.                                  704 (N.Y. App. Div. 1st Dep't 1990) (citations omitted).

Ms. Soshkin argues that the Trustee does not - and cannot          *15 Here, with respect to the question of the estate's
- allege this element with respect to the Post-Petition Sale      ownership interest in specifically identified property - the
Proceeds. She argues that the Trustee's allegations fall          Post-Petition Sale Proceeds - a review of the Complaint
short because “the estate did not have a possessory right”        shows that the Trustee alleges that Ms. Soshkin converted
in the assets of ENSI, so that Ms. Soshkin could not have         “the estate's 100% interest ... in the Post-Petition Sale
exercised dominion over any such assets in derogation of          Proceeds ... in an amount to be determined at trial,
the Trustee's rights. Mot. to Dismiss at 11.                      currently estimated to be at least $42,431.66.” Compl. ¶¶
                                                                  21, 22. The Trustee identifies generally how ENSI assets
The Trustee responds that in the Brizinova Decision, this         became the Post-Petition Sale Proceeds, the accounts
Court sustained the adequacy of the conversion claim set          where the Post-Petition Sale Proceeds were deposited, how
forth in the Brizinova Adversary. Citing the law of the           the sale proceeds were transferred to Ms. Soshkin, and
case doctrine, he states that because his conversion claim        other information to identify the funds constituting the
here is “substantially similar” to the claim in the Brizinova     Post-Petition Sale Proceeds as those that she converted.
Adversary, he adequately alleges a claim “for conversion          For these reasons, the Trustee adequately alleges a
of the Post-Petition Sale Proceeds.” Opp. Mem. at 10.             specifically identifiable thing, the $42,431.66 in Post-
                                                                  Petition Sale Proceeds. But as noted above, because the
It is plain that “in a Chapter 7 bankruptcy, a trustee has        Trustee does not adequately allege that the Post-Petition
the general duties of gathering the estate assets, liquidating    Sale Proceeds are “proceeds of or from property of the
them, distributing the proceeds to creditors, and closing         estate,” he also does not adequately allege that he has title
the estate.” In re Smith, 426 B.R. 435, 440-41 (E.D.N.Y.          or a right to possess the Post-Petition Sale Proceeds.
2010) (citing United States v. Shadduck, 112 F.3d 523,
531 (1st Cir. 1997) ), aff'd, 645 F.3d 186( 2d Cir. 2011).        For these reasons, and based on the entire record, the
And as this Court has previously stated, “[t]he Bankruptcy        Court concludes that the Trustee does not adequately
Code provides tools for trustees to marshal the assets of         allege the first element of his conversion claim, that the
an estate.” In re Khan, 2014 WL 4956676, at *22 (Bankr.           Trustee had title to or a right to possess the Post-Petition
E.D.N.Y. Sept. 30, 2014). But first, the property at issue        Sale Proceeds.
must be property of the estate.



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                                                              his conversion claim, that he had title to or a right to
Whether the Trustee Adequately Alleges that the               possess the Post-Petition Sale Proceeds. The Court also
Defendant Exercised Unauthorized Dominion over the            concludes that the Trustee does not adequately allege the
Identified Property                                           second element of his conversion claim, that Ms. Soshkin
The second element that the Trustee must allege to            exercised unauthorized dominion over the Post-Petition
state a conversion claim is that Ms. Soshkin exercised        Sale Proceeds.
unauthorized dominion over the property at issue.
                                                              For these reasons, and based on the entire record, the
Here too, Ms. Soshkin argues, in substance, that this         Defendant's Motion to Dismiss the Trustee's Second
element is not satisfied with respect to the Post-Petition    Claim for Relief, for conversion of the Post-Petition Sale
Sale Proceeds because this property either is not in her      Proceeds, is granted.
possession or does not exist as property of the estate, so
that Ms. Soshkin cannot exercise unauthorized dominion
over it sufficient to give rise to a conversion claim.        Whether the Trustee States a Claim for Violation of the
                                                              Automatic Stay Under Bankruptcy Code Section 362(a)
And here too, the Trustee responds that in the Brizinova      The Trustee's Third Claim for Relief seeks a declaratory
Decision, this Court ruled that his conversion claim in       judgment, an injunction, and actual and punitive damages
the Brizinova Adversary was adequately pleaded, that          arising from Ms. Soshkin's alleged violations of the
his conversion claim here is “substantially similar” to his   automatic stay pursuant to Section 362(a). That Section
conversion claim in the Brizinova Adversary, and so under     provides that “a [bankruptcy] petition filed under section
the law of the case doctrine and relevant case law, he has    301, 302, or 303 of this title ... operates as a stay, applicable
set forth a legally sufficient claim for conversion.          to all entities ... of any act to... exercise control over
                                                              property of the estate.” 11 U.S.C. § 362(a)(3). Actions
Here, a review of the Complaint shows that the Trustee        in violation of the automatic stay may trigger serious
alleges, among other things, that Ms. Soshkin “willfully,     consequences, including an award of “actual damages,
knowingly and wrongly has exercised dominion and              including costs and attorneys' fees, and, in appropriate
control over” property at issue, namely the Post-Petition     circumstances ... punitive damages.” 11 U.S.C. § 362(k).
Sale Proceeds. Compl. ¶ 21. But as noted above, because
the Trustee does not adequately allege that the Post-          *16 The Trustee must allege three elements to state a
Petition Sale Proceeds are property of the estate or          claim based upon a violation of the automatic stay. These
“proceeds of or from property of the estate,” as opposed      are first, that the automatic stay was in effect at the time
to property of ENSI, he does not adequately allege that       of the alleged violation; second, that the property at issue
Ms. Soshkin exercised unauthorized dominion over estate       was property of the estate; and third, that the conduct in
assets.                                                       question constitutes a violation of the automatic stay.

For these reasons, and based on the entire record, the
Court concludes that the Trustee does not adequately          Whether the Trustee Adequately Alleges that the
allege the second element of his conversion claim, that Ms.   Automatic Stay Was In Effect at the Time of the Alleged
Soshkin exercised unauthorized dominion over the Post-        Violation
Petition Sale Proceeds.                                       The first element that the Trustee must allege to state a
                                                              claim based upon a violation of the automatic stay is that
                                                              a stay was in effect at the time of the alleged violation.

                             ***                              Ms. Soshkin asserts that the Post-Petition Sale Proceeds
                                                              are not estate property, and that the “[e]state can only be
In sum, the Court has carefully considered each of the
                                                              damaged if something is take[n] away from the estate.”
arguments advanced by Ms. Soshkin with respect to
                                                              Mot. to Dismiss at 13. She argues, in substance, that she
whether the Trustee adequately alleges the Second Claim
                                                              did not violate the automatic stay because the property
for Relief, for conversion. The Court concludes that the
                                                              at issue - the Post-Petition Sale Proceeds - was property
Trustee does not adequately allege the first element of
                                                              of ENSI, not the Debtor Brizinova, and “[t]here was no


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stay regarding ENSI.” Reply at 20. And Ms. Soshkin asks,           violation claim, that the automatic stay was in effect at the
since there was no stay with respect to ENSI, “where is the        time of the alleged violation.
violation of the stay?” Reply at 20.

The Trustee responds, in substance, that he adequately             Whether the Trustee Adequately Alleges that the
alleges this claim for many of the same reasons that he            Property at Issue Was Property of the Estate
adequately asserts his Section 542(a) turnover claim, and           *17 The second element that the Trustee must allege to
concludes that based on this Court's ruling sustaining             state a claim based upon a violation of the automatic stay
his stay violation claim in the Brizinova Adversary, and           is that the property at issue was property of the estate.
pursuant to the law of the case doctrine, the motion to
dismiss should be denied. Opp. Mem. at 13.                         Here again, Ms. Soshkin argues, in substance, that the
                                                                   Trustee cannot state a plausible claim for violation of the
The starting point for any claim for relief arising from a         automatic stay because this element requires the Trustee
stay violation is the language of the Bankruptcy Code.             to allege that the property at issue - the Post-Petition Sale
Section 362(a) provides that a “petition filed under ... this      Proceeds - is property of the estate, and here, ENSI is not
title ... operates as a stay, applicable to all entities, of ...   a debtor, and its assets are not property of the estate.
any act to obtain possession of property of the estate or
of property from the estate or to exercise control over            And here again, the Trustee responds, in substance,
property of the estate.” 11 U.S.C. § 362(a)(3).                    that he adequately alleges this claim for many of the
                                                                   same reasons that he adequately asserts his Section
The automatic stay “is effective immediately upon the              542(a) turnover claim, and that the Complaint adequately
filing of the petition ... and any proceedings or actions          identifies the Post-Petition Sale Proceeds as property of
described in section 362(a)(1) are void and without vitality       the estate.
if they occur after the automatic stay takes effect.”
Rexnord Holdings, Inc. v. Bidermann, 21 F.3d 522, 527 (2d          The Complaint states, among other things, that after the
Cir. 1994) (citing 48th St. Steakhouse, Inc. v. Rockefeller        Debtors filed their bankruptcy case, Ms. Soshkin violated
Grp., Inc. (In re 48th St. Steakhouse, Inc.), 835 F.2d 427,        the automatic stay by causing the post-petition sale of
431 (2d Cir. 1987), cert. denied, 485 U.S. 1035, 108 S.Ct.         ENSI auto parts, and converting the sales proceeds, which
1596, 99 L.Ed.2d 910 (1988) ) (internal citations omitted).        were estate property. But because ENSI is not a debtor,
                                                                   and because the Trustee does not adequately allege that
Here, the Complaint states, among other things, that after         the Post-Petition Sale Proceeds are “proceeds of or from
the Debtors filed their bankruptcy case - and therefore            property of the estate,” he does not adequately allege the
after the automatic stay was in effect - Ms. Soshkin, with         second element of his stay violation claim, that the Post-
knowledge that the Trustee had become the owner of                 Petition Proceeds are property of the estate.
Debtor Brizinova's one hundred percent interest in ENSI,
violated the automatic stay by causing post-petition sales         For these reasons, and based on the entire record, the
of ENSI auto parts, depositing the sale proceeds into her          Court concludes that the Trustee does not adequately
PayPal account, and using the Post-Petition Sale Proceeds          allege the second element of his Bankruptcy Code Section
for her own or her family's use, which damaged the estate.         362 stay violation claim, that the property at issue was
That is, the Trustee alleges that Ms. Soshkin took steps           property of the estate.
to exercise control over and transfer the property at issue,
in the form of the Post-Petition Sale Proceeds, after the
                                                                   Whether the Trustee Adequately Alleges that the
Debtors filed their bankruptcy case, when the automatic
                                                                   Conduct in Question Violates the Automatic Stay
stay was in effect.
                                                                   The third element that the Trustee must allege to state a
                                                                   claim based upon a violation of the automatic stay is that
For these reasons, and based on the entire record, the
                                                                   the conduct in question violates the automatic stay.
Court concludes that the Trustee adequately alleges the
first element of his Bankruptcy Code Section 362 stay
                                                                   Ms. Soshkin argues, in substance, that the Trustee cannot
                                                                   state a plausible claim for violation of the automatic stay


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because ENSI is not a debtor, and that “there was no stay
regarding ENSI.” Reply at 20.
                                                                 The Question of Leave To Replead
The Trustee responds, in substance, that he adequately           Federal Rule of Civil Procedure 15, made applicable here
alleges this claim for many of the same reasons that             by Bankruptcy Rule 7015, states that permission to amend
he adequately asserts his Section 542(a) turnover claim,         a complaint should be freely granted “when justice so
and that the Complaint adequately identifies conduct,            requires.” Fed. R. Civ. P. 15(a)(2). As the Supreme Court
including retention and transfers of the Post-Petition Sale      observed more than fifty years ago, “[i]f the underlying
Proceeds, that violate the automatic stay.                       facts or circumstances relied upon by a plaintiff may be
                                                                 a proper subject of relief, he ought to be afforded an
Here, the Complaint states that Ms. Soshkin violated the         opportunity to test his claim on the merits.” Foman v.
automatic stay by causing the post-petition sale of ENSI         Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222
auto parts, depositing the proceeds derived from those           (1962).
sales into her PayPal account, and using certain of the
Post-Petition Sale Proceeds for personal purchases for           And as this Court has noted, “[w]here a plaintiff has
herself and her family.                                          made a single attempt to state a claim, and the prospect
                                                                 of a plausible claim is suggested, but not established, by
But here too, because ENSI is not a debtor, and because          the allegations, then it may be that a court's discretion
the Trustee does not adequately allege that the Post-            should tip in favor of allowing an amendment.” Ridley v.
Petition Sale Proceeds are “proceeds of or from property         Deutsche Bank Nat'l Tr. Co. (In re Ridley), 453 B.R. 58,
of the estate,” he does not adequately allege the third          77 (Bankr. E.D.N.Y. 2011). At the same time, this Court
element of his claim under Bankruptcy Code Section               has also noted that “where a proposed amended pleading
362 for a stay violation, that the conduct in question           would not survive a motion to dismiss, it is within a trial
violates the automatic stay, because actions with respect        court's discretion to deny leave to replead.” In re Ridley,
to property that is not property of the estate simply do not     453 B.R. at 77.
violate the automatic stay.
                                                                 Ultimately, the question of leave to replead is committed
                                                                 to the sound discretion of the court. As one court has
                                                                 stated, “it is well-established in the Second Circuit that
                             ***                                 leave to amend should be granted freely though the district
                                                                 court may exercise its discretion to deny a motion to
 *18 In sum, the Court has carefully considered each of
                                                                 amend if there is a good reason for it.” In re Ashanti
the arguments advanced by Ms. Soshkin with respect to
                                                                 Goldfields Sec. Litig., 2004 WL 626810, at *2 (E.D.N.Y.
whether the Trustee adequately alleges the Third Claim
                                                                 Mar. 30, 2004) (citation omitted).
for Relief, for a declaratory judgment that she violated the
automatic stay, an order enforcing the stay and enjoining
                                                                 The Court notes that this is the Trustee's first attempt to
further transfers of the Post-Petition Proceeds, damages
                                                                 state these claims against Ms. Soshkin. The Court also
in the amount of at least $42,431.66, plus interest, and
                                                                 recognizes that each of the Trustee's claims falls short for
punitive damages. The Court concludes that the Trustee
                                                                 substantially the same reason - that the Trustee does not
adequately alleges the first element of his stay violation
                                                                 adequately allege that the Post-Petition Sale Proceeds are
claim, that the automatic stay was in effect at the time of
                                                                 property of the Debtors' estate. Based on the entire record,
the alleged violation. But the Trustee does not adequately
                                                                 and noting that the question is a close one, the Court
allege the second element of this claim, that the property at
                                                                 is satisfied that the “the prospect of a plausible claim is
issue was property of the estate, or the third element of this
                                                                 suggested,” but not established, in the Complaint. In re
claim, that the conduct in question violates the automatic
                                                                 Ridley, 453 B.R. at 77.
stay.

                                                                  *19 For these reasons, and based on the entire record,
For these reasons, and based on the entire record, the
                                                                 leave to replead is granted with respect to each of the
Defendants' Motion to Dismiss the Trustee's Third Claim
                                                                 claims in the Complaint.
for Relief, for violations of the automatic stay, is granted.



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                          Conclusion                             in accordance with this Memorandum Decision shall be
                                                                 entered simultaneously herewith.
For the reasons stated herein, the Motion to Dismiss
is granted, and leave to replead is allowed. An order
                                                                 All Citations

                                                                 --- B.R. ----, 2018 WL 3493547


Footnotes
1      Ms. Soshkin invites the Court to revisit its determination of the Motion to Dismiss in that action. Though that adversary
       proceeding and this one arise in connection with the same Chapter 7 bankruptcy case, they are different actions, against
       different parties, and Ms. Soshkin has advanced different arguments here than were made by the Defendants in the
       Brizinova Adversary. For these reasons, among others, the Court declines Ms. Soshkin's invitation.
2      Another consideration, in the appropriate circumstances, may be the extent of the administrative costs likely to be
       associated with recovery of the property at issue. This Court leaves for another day the question of whether this element
       or claim may be alleged adequately where the record shows that the cost of obtaining the asset approaches or even
       exceeds the value of the asset.


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